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UNITED STATES DISTRICT COURT
DISTRICT OF CONNECTICUT

                                          :
Lori Beausoleil,                          :
                                          :
                                          : Civil Action No.: 3:10-cv-01255
                     Plaintiff,           :
      v.                                  :
                                          :
Accounts Management Systems, Inc.;        :
and DOES 1-10, inclusive,                 :
                                          :
                     Defendant.           :


            NOTICE OF WITHDRAWAL OF COMPLAINT AND VOLUNTARY
                  DISMISSAL OF ACTION WITHOUT PREJUDICE
                          PURSUANT TO RULE 41(a)


      Lori Beausoleil (“Plaintiff”), by Plaintiff’s attorney, hereby withdraws the
complaint and voluntarily dismisses this action, without prejudice, pursuant to
Fed. R. Civ. P. 41(a)(1)(A)(i).


Dated: March 30, 2011

                                           Respectfully submitted,

                                           PLAINTIFF, Lori Beausoleil

                                           /s/ Sergei Lemberg

                                           Sergei Lemberg, Esq.
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                           CERTIFICATE OF SERVICE

      I hereby certify that on March 30, 2011, a true and correct copy of the
foregoing Notice of Withdrawal was served electronically by the U.S. District
Court for the District of Connecticut Electronic Document Filing System (ECF)
and that the document is available on the ECF system.

                                     By_/s/ Sergei Lemberg_________

                                          Sergei Lemberg
